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                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s) 22-55930

Case Name Lori Myers v. Starbucks Corporation

Hearing Location (city) Pasadena

Your Name David A. Forkner

List the sitting dates for the two sitting months you were asked to review:
March 2024 and April 2024




Do you have an unresolvable conflict on any of the above dates?                                Yes      No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:
I am unavailable on March 4 through March 8 and on April 8 through April 12 due to
trial commitments.




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):




Signature s/David A. Forkner                                           Date 11/08/2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
